                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                 AT CHATTANOOGA


TIMOTHY W. MEYER and                                :
MELISSA C. MEYER                                    :
                             Plaintiff,             :
                                                    :      CASE NO. ________________
vs.                                                 :
                                                    :
ZACHARY LLOYD, LUKE SIMON,                          :
THE CITY OF CHATTANOOGA, and                        :
WALMART, INC                                        :
                                                    :
                             Defendants.            :


                                  NOTICE OF REMOVAL

       Come now the Defendants, City of Chattanooga, Tennessee (“the City”), Zachary Lloyd,

and Luke Simon, in their official capacities as employees of the City and in their individual

capacities (collectively “the Defendants”) by and through counsel, and, without waiving any of

their defenses, including, but not limited to, lack of personal jurisdiction and insufficiency of

service of process, respectfully show unto this Honorable Court as follows:

       This Court has original jurisdiction of this action under federal question jurisdiction

pursuant to 28 U.S.C. § 1331. The action may be removed to this Court pursuant to 28 U.S.C. §§

1441(a) and 1446 for the following reasons:

       1.     On August 12, 2022, Timothy and Melissa Meyer (“Plaintiffs”) filed suit against

the Defendants and Walmart, Inc., in the Circuit Court of Hamilton County, Tennessee, in a case

styled Timothy W. Meyer and Melissa C. Meyer v. Zachary Lloyd, Luke Simon, City of

Chattanooga, Tennessee, and Walmart, Inc., Case Number 22C835. Attached hereto as Exhibit A




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is a copy of all process and pleadings filed in the action. No further proceedings have occurred in

the Circuit Court of Hamilton County, Tennessee.

       2.      The City was served with a copy of the complaint and summons by hand delivery

on August 19, 2022. Copies of the complaint and summonses for Zachary Lloyd and Luke Simon

were also served by hand delivery on the Chattanooga Police Department on August 19, 2022.

       3.      Upon information and belief, the Defendant Walmart, Inc., was served with process

on its registered agent, CT Corporation Systems on August 23, 2022.

       4.      This Notice of Removal is filed within the time allowed under 28 U.S.C. § 1446(b)

as thirty (30) days have not yet expired since any of the Defendants was first provided with a copy

of the complaint and summons.

       5.      This action is a civil action in which the Plaintiff alleges that certain of the

Defendants violated his civil rights under color of law and seeks to recover damages and other

relief as provided by federal law pursuant to 42 U.S.C. § 1983 as well as certain state law claims.

       6.      Pursuant to 28 U.S.C. § 1441(a), “Except as otherwise expressly provided by Act

of Congress, any civil action brought in a State court of which the district courts of the United

States have original jurisdiction, may be removed by the defendant or the defendants, to the district

court of the United States for the district and division embracing the place where such action is

pending.”

       7.      Pursuant to 28 U.S.C. § 1331, “The district courts shall have original jurisdiction

of all civil actions arising under the Constitution, laws, or treaties of the United States.”

       8.      The case allegedly arises under the laws of the United States. Therefore, this Court

has original jurisdiction, and removal of the case is proper.




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       9.      Venue is proper in this Court because this United States District Court embraces

the County of Hamilton, State of Tennessee.

       10.     No defendant in this action has objected to this removal.

       11.     As required by 28 U.S.C. § 1446(d), promptly after the filing of this notice of

removal, the Defendants will give written notice thereof to all adverse parties and will file a copy

of the notice with the Clerk of the Circuit Court of Hamilton County, Tennessee, which shall effect

the removal, and the State court shall proceed no further unless and until the case is remanded.

       WHEREFORE, the Defendants pray that the above-entitled action be removed from the

Circuit Court of the State of Tennessee, County of Hamilton, to this Court.

                                              Respectfully Submitted,

                                              OFFICE OF THE CITY ATTORNEY
                                              CITY OF CHATTANOOGA, TENNESSEE


                                              By:    s/ Phillip A. Noblett
                                                     PHILLIP A. NOBLETT (BPR #10074)
                                                     Deputy City Attorney
                                                     KATHRYN MCDONALD (BPR #30950)
                                                     Assistant City Attorney
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and exact copy of this pleading has been served

on counsel for Plaintiff by depositing said pleading in the United States mail with sufficient first

class postage thereon, addressed to the following:

               Stephen S. Duggins, Esq.
               Law Office of Stephen S. Duggins
               8052 Standifer Gap Road, Suite B
               Chattanooga, Tennessee 37421

               Steve Elliott, Esq.
               Howell & Fisher, PLLC
               3310 West End Avenue, Suite 550
               Nashville, TN 37203
               selliott@howell-fisher.com

       This 16th day of September, 2022.


                                                     s/ Phillip A. Noblett




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